     Case 5:21-cv-00989-JFW-JDE Document 25 Filed 09/24/21 Page 1 of 1 Page ID #:802




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 8                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                EASTERN DIVISION
11    VILAYCHITH KHOUANMANY,           )        Case No. 5:21-cv-00989-JFW-JDE
                                       )
12               Petitioner,           )
                                       )        JUDGMENT
13            v.                       )
                                       )
14    MARK GUTIERREZ, Warden, et al., ))
15                                     )
                 Respondents.          )
                                       )
16                                     )
17
18          Pursuant to the Report and Recommendation of the United States
19    Magistrate Judge,
20          IT IS ADJUDGED that the Petition is denied, and this action is
21    dismissed without prejudice.
22
23    Dated: September 24, 2021
24
25                                             ______________________________
                                               JOHN F. WALTER
26                                             United States District Judge
27
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